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                                                                                September 2, 2020
Hon. Paula Xinis
U.S. District Court for the District of Maryland
6500 Cherrywood Lane, Suite 400
Greenbelt, MD 20770
                                                       Re:    CASA v. Wolf, 8:20-cv-2118-PX

Dear Judge Xinis:

       Plaintiffs submit this supplemental brief to respond to the five questions raised by the
Court’s Letter Order, ECF No. 64.

1. Is it sufficient, for purposes of standing, for individual members of Plaintiff organizations
   to challenge the Broader EAD Rules collectively based on particularized harms resulting
   from specific changes therein?

        Yes, for three independent reasons. First, although the final Broader EAD Rule has several
subsections, the preamble presents a common justification for all components of the Rule:
deterring frivolous, fraudulent, and otherwise non-meritorious asylum applications. Having been
promulgated as a whole, and justified as a whole, the entire rule is the appropriate unit for judicial
review even if the Court concludes that Plaintiffs only showed injury from portions of that rule.

         Second, the statute creating the cause of action is the touchstone for the standing inquiry.
See, e.g., Havens Realty Corp. v. Coleman, 455 U.S. 363, 372-74 (1982). The statute here, the
APA, points to the rule as a whole: it provides that “[a] person suffering legal wrong because of
agency action . . . is entitled to judicial review thereof,” 5 U.S.C. § 702 (emphasis added); it
identifies the vacatur of the challenged agency action as the presumed remedy, id. § 706; and it
defines “agency action” to include “the whole or a part of an agency rule,” id. § 551(13). Review
of an agency rule is thus proper when plaintiffs show injury from that rule as promulgated. See,
e.g., CASA v. Trump, No. 19-2222, 2020 WL 4664820, *10 (4th Cir. Aug. 5, 2020) (individual
plaintiffs who had shown only that they were DACA recipients foregoing financial aid and did not
show injury with respect to other parts of the rule had standing to challenge the public charge rule
in its entirety). 1

        Administrative law works this way because where an agency action causes concrete
injuries to plaintiffs, vacatur of that action on the basis of any procedural illegality would redress
those injuries. See WildEarth Guardians v. Jewell, 738 F.3d 298, 306-07 (D.C. Cir. 2013); cf.
L.M.-M. v. Cuccinelli, 442 F. Supp. 3d 1, 19-21 (D.D.C. 2020) (asylum seekers have standing to
challenge the propriety of Cuccinelli’s appointment because the redressability requirement is
relaxed in procedural-rights cases), gov’t appeal withdrawn. A district court cannot “slice[] the


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  Plaintiffs may also challenge only “a part of an agency rule” under the APA. 5 U.S.C. § 551(13).
Plaintiffs here have not challenged the portion of the Timeline Repeal Rule that deletes the
language requiring people to renew their EADs at least 90 days before their expiration, which the
agency described as a conforming amendment to a 2017 regulatory change. See ECF No. 23-1 at
7 n.6.
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salami too thin” by limiting plaintiffs to procedural deficiency arguments tied directly to the
claimed injuries. WildEarth, 738 F.3d at 307. Thus, the Sierra Club had representational standing
to challenge an agency order certifying a pipeline project, even though its members showed injury
as to only one pipeline segment. See Sierra Club v. FERC, 867 F.3d 1357, 1365-66 (D.C. Cir.
2017) (citing WildEarth and reasoning that plaintiffs’ injuries would be redressed by vacatur of
the agency action on any basis). Here, Plaintiffs CASA and ASAP have representational standing
to challenge the Broader EAD rule as a whole because their members are injured—with their
survival and chance for safety at stake—by at least one aspect of the rule. See ECF No. 24-4 ¶¶ 25-
28; ECF No. 24-5 ¶¶ 22-29. Vacatur of the entire rule based on any of the procedural deficiencies
that Plaintiffs have set forth would address their injuries. 2

         Third, even though standing only requires showing injury from one aspect of a challenged
rule, CASA and ASAP have shown far more—namely, that the Broader EAD Rule as a whole
works harm on its members because its provisions, taken together, delay or deny work
authorization to asylum applicants and deprive them of any certainty about when they might be
able to start supporting themselves and their families. 3 For example, under the prior EAD system
ASAP member W.L. would have been eligible to submit her EAD application this past Monday
with an expected response by the end of September. ECF No. 24-5 ¶ 25. Under the new regime,
however, W.L. will not be eligible to submit an EAD application for another seven months and
will have no certainty about when, if ever, she will receive work authorization, depriving her of
her ability to make informed daily decisions about how to allocate her remaining funds. This
serious harm to W.L. is not only due to the Timeline Repeal Rule and the 365-day waiting period.
See ECF No. 60 at 3. Even if those specific rule changes were postponed or vacated, W.L. would
still be subject to the drastically changed EAD system wrought by the remainder of the Broader
EAD Rule. The new application forms implementing the Broader EAD Rule require all asylum
seekers submitting EAD applications after August 25 to disclose more potentially prejudicial
information, including about their manner of entry into the United States and arrests and
convictions, even where such information does not automatically disqualify them from receiving
an EAD. See USCIS, www.uscis.gov/i-765 (last visited Sept. 2, 2020). This new regime also
requires her to pay for biometrics, forces her to make strategic decisions in her asylum proceedings
to avoid prejudice to her EAD application, and subjects her to discretionary decisionmaking. It
would be error to adopt Defendants’ myopic view of the asylum-seeking members’ injuries.

Summary Regarding Standing: In addition to the representational standing discussed above, each
Plaintiff has shown that it has organizational standing to challenge the Broader EAD Rule in its


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  The presence of a severability clause in 8 C.F.R. § 208.7 is of no moment. See Cmty. for Creative
Non-Violence v. Turner, 893 F.2d 1387, 1394 (D.C. Cir. 1990) (“‘[T]he ultimate determination
of severability will rarely turn on the presence or absence’ of a severability clause.”) (quoting
United States v. Jackson, 390 U.S. 570, 585 n.27 (1968)). The entire Broader EAD Rule is infected
by the procedural improprieties Plaintiffs allege and there is no single “offending portion” that
could be severed. MD/DC/DE Broadcasters Ass’n v. F.C.C., 236 F.3d 13, 22 (D.C. Cir. 2001).
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  Some CASA members referenced in its declaration were able to file their asylum applications
prior to the effective date because of CASA’s efforts to assist them. That fact is immaterial,
however, because those members will still be subject to the changed EAD system regardless of
whether they were able to file the asylum application before the effective date.
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entirety (as well as the Timeline Repeal) because the rule directly impairs its “ability to function.”
See CASA, 2020 WL 4664820, at *9 (emphasis in original). That is all that is required under
Havens and CASA. See id. (affirming the availability of organizational standing under Havens).
Even though the Broader EAD Rule is not aimed at Plaintiff organizations, it directly impairs them,
and that is sufficient for standing. Cf. Havens, 455 U.S. at 379 (although not the direct victim of
defendants’ racial steering practices, plaintiff had standing because it was impaired through the
impact on its clients); see also White Tail Park, Inc. v. Stroube, 413 F.3d 451, 461 (4th Cir. 2005)
(district court’s finding that educational organization had no organizational standing reversed
because challenged conduct reduced attendance at its event).

        Oasis and CASA have gone further, showing through uncontested testimony that they are
at risk of financial loss that would impair their ability to function—creating an existential threat
for Oasis—because Defendants’ actions deprive their clients of income and job opportunities. See
ECF No. 24-7 ¶¶ 44-46; ECF No. 24-4 ¶¶ 33-34; La Clinica De La Raza v. Trump, No. 19-CV-
04980-PJH, 2020 WL 4569462, *8 n.4 (N.D. Cal. Aug. 7, 2020) (distinguishing CASA, where such
risk exists). Havens requires far less from Plaintiffs; the harm there was based not on threats of
such magnitude, but only on the need “to devote significant resources to identify and counteract”
the defendants’ actions in order to continue to serve clients consistently with its mission. 455 U.S.
at 379 (quoting allegation). Each organizational plaintiff has shown this type of harm here. See
ECF No. 47 at 11-13; ECF No. 54 at 2; ECF No. 59 at 1; ECF No. 62-1 at 1.

2. What is the distinction between the terms “first assistant” and “Acting Secretary” for
   purposes of the HSA and FVRA?
        An “Acting Secretary” is the official who temporarily “perform[s] the functions and duties”
of the Secretary until someone is nominated and confirmed in that office. See 5 U.S.C. § 3347. In
the event of a vacancy, the default scheme of the FVRA is for the “first assistant” to assume the
vacant office in an acting capacity. 5 U.S.C. § 3345(a); S. Rep. 105-250 at 1, 12. Individuals other
than “first assistants,” however, may be designated to serve as acting officers by the President or
pursuant to an agency-specific statute, like the HSA. See 5 U.S.C. §§ 3345(a), 3347(a)(1).
        Our prior briefing explained that an Acting Secretary designated under section 113(g)(2)
of the HSA is subject to the non-conflicting provisions of the FVRA, including the 210-day time
limits. ECF No. 23-1 at 28-31; ECF No. 47 at 6-11; ECF No. 59 at 3-5; ECF No. 62-1 at 1-3.
Defendants’ position—that the FVRA does not apply to an Acting Secretary designated under the
HSA—runs afoul of the statutory scheme. Indeed, section 3347 of the FVRA provides that the
succession provisions of the FVRA can only be supplanted by a statute that expressly authorizes
the head of a department to “perform the functions and duties of a specified office temporarily in
an acting capacity.” 5 U.S.C. § 3347(a)(1)(A) (emphasis added). But under Defendants’ view, an
Acting Secretary designated pursuant to section 113(g)(2) is not subject to the 210-day limit of the
FVRA or any other statutory time limitation. Absent such a limitation, the HSA does not authorize
the Acting Secretary to perform the duties of the Secretary “temporarily,” and thus cannot supplant
the FVRA. Defendants’ position creates a conflict between the statutes not present in Plaintiffs’
plain reading.
        The problems with Defendants’ position do not end there. First, stripping the FVRA of
effect in circumstances where designations are made under the HSA would recreate the harm that
the FVRA intended to fix—i.e., the President could circumvent the Senate through unconfirmed

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“acting” cabinet and other officials serving indefinitely. See NLRB v. SW Gen., Inc., 137 S. Ct.
929, 936 (2017); see also ECF No. 40-1 at 9-13. Second, Defendants’ interpretation raises the
constitutional question of whether section 113(g)(2) violates the Appointments Clause by
permitting officials to serve in an acting capacity “without time limitation.” See United States v.
Smith, 962 F.3d 755, 764 n.3 (4th Cir. 2020). Third, Defendants’ reading raises an as-applied
constitutional challenge to Acting Secretary Wolf’s putative service during a 500-plus day vacancy
in the Office of a Secretary. As discussed in our briefing, every court to consider the issue has
determined that agency-specific statutes (such as the HSA) apply alongside the FVRA, not in lieu
of it. ECF No. 47 at 6-8; ECF No. 62-1 at 2-3. The word “notwithstanding” in the HSA displaces
the specifically identified conflicting item—it does not wipe out application of the entirety of
Chapter 33, Title 5, to the DHS. ECF No. 47 at 7-8.
3. What is the import of the language “functions and duties” in section 3348 of the FVRA
   in this case?

         The term “function or duty” in section 3348 means all of the functions and duties that were
actually assigned to that office at the time. 5 U.S.C. § 3348(a)(2)(A), (B). It is not limited to non-
delegable functions or duties. This argument was analyzed in great detail by Judge Moss in L.M.-
M. v. Cuccinelli, 442 F. Supp. 3d 1, 31-34 (D.D.C. 2020), and squarely rejected as contrary to the
text, structure, and logic of the FVRA statute. See also ECF No. 38-1 at 15-16; ECF No. 59 at 5-
6. As Judge Moss concluded, section 3348(d) is not, and could not be, limited to non-delegable
functions and duties. Indeed, if it were “all (or almost all) departments subject to the FVRA,”
which have similar agency-specific delegation statutes, would be immunized from the FVRA’s
prescribed statutory remedy. L.M.-M., 442 F. Supp. 3d at 31-34. Because the proper reading of
“function or duty” includes the rulemaking authority vested in the Secretary, the remedy for
Defendant Wolf’s putative enactment of the Asylum EAD Rules without the authority to do so is
vacatur under section 3348(d). 4
        The Court expressed concern about whether actions that may have been taken by Defendant
Wolf such as signing paychecks, or keeping the office lights on, are also void or voidable. First,
the breadth of Mr. Wolf’s potentially-voidable acts is not at issue in this case; only the EAD Rules
are. Second, Defendants have not even suggested that the interpretation of the statute advocated
by Plaintiffs, and determined by Judge Moss, would create any such problem.
4. Are there any alternatives short of nationwide preliminary relief?
        Defendants have had multiple opportunities to explain how an alternative short of
postponement of the Asylum EAD Rules in their entirety would be workable, and they have not
been able to do so. The remedy that Plaintiffs have requested is appropriate here especially given
that Congress specifically authorized it under 5 U.S.C. § 705. See Texas v. EPA, 829 F.3d 405,
435 (5th Cir. 2016) (granting § 705 stay because agency did not propose how the court could “craft
a limited stay”).


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   The Court need not even interpret the precise boundaries of the term “function or duty” as it is
used in section 3348(d), the FVRA’s remedy provision, if it grants relief under the APA, because
any violation of the FVRA by an acting official without authority is void under the APA—even
if section 3348(d) does not apply. ECF No. 59 at 6.
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5.   What force and effect should be given to Delegation 00106?

        Defendants have created a red herring with respect to the DHS Orders of Succession and
Delegations for Named Authorities (“Delegation 00106”). Plaintiffs are not seeking to enforce
Delegation 00106 as it was issued, and have not argued that the originally-issued order currently
has the independent force and effect of law. What Plaintiffs do argue is that if Nielsen’s April 9
Directive is given the force and effect of law—and Defendants rely on this authority alone as the
basis for Wolf’s service—then the Court must recognize that the Directive itself ratifies Delegation
00106 as the operative scheme, by expressly amending it in certain regards; relying on it for
meaning; and otherwise incorporating it.
        This conclusion follows directly from the fact that Nielsen’s Directive is not a standalone
document. Its plain language expressly purports to amend portions of Delegation 00106, such as
Annex A to the Delegation, which governs when the Secretary is “unavailable to act during a
disaster or catastrophic emergency”—not after the Secretary’s resignation. Likewise, the Directive
relies on the Delegation for meaning, such as specifying when a delegation occurs and when a
succession occurs.
        Because Nielsen’s Directive—including its confirmation of Delegation 00106 as an
operational document—and the Delegation itself are all clear on their face, and contain no
ambiguity, additional sources should not be used to construe their meaning. See Dickenson-Russell
Coal Co., LLC v. Sec’y of Labor, 747 F.3d 251, 257 (4th Cir. 2014) (“[O]ur first task is to determine
whether the regulation itself is unambiguous; if so, its plain language controls.”) (quotation marks
omitted) (emphasis in original)); see also 8/14/20 Tr. at 62 (Defendants agree no additional facts
needed to adjudicate vacancies claim). Moreover, because the documents are unambiguous, their
facial meaning governs; no deference should be given to Defendants for their interpretation. Cf.
Kisor v. Wilkie, 139 S. Ct. 2400, 2414 (2019); Romero v. Barr, 937 F.3d 282, 291 (4th Cir. 2019).
That is particularly true where, as here, their interpretation is a post hoc rationalization that appears
to be “nothing more than a convenient litigating position.” Christopher v. SmithKline Beecham
Corp., 567 U.S. 142, 155 (2012) (quotation marks omitted); see also ECF No. 51-1 at 9.
       Plaintiffs’ position here is further borne out by the actions of former Secretary Nielsen’s
purported successor, McAleenan—all of which preceded this litigation. When McAleenan wanted
to amend the order of succession to make Wolf his successor, he did so by purporting to amend
Delegation 00106 so that Annex A would also apply in the event of resignations. The language of
such an amendment would be superfluous if Nielsen’s amendment applied in instances of
resignation, and the modification of Delegation 00106 would make no sense if Nielsen’s Directive
had wiped it clean, or if DHS was rejecting Delegation 00106 or doing anything other than
confirming it.




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Respectfully submitted,

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